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5
6    Attorneys for Defendant
     PHI VAY BUI
7
8                                            UNITED STATES DISTRICT COURT
9                                           EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                           No. Cr. S 07-122 WBS
12                             Plaintiff,                STIPULATED MOTION AND [lodged] ORDER
                                                         TO REDUCE SENTENCE PURSUANT TO 18
13             v.                                        U.S.C. § 3582(c)(2)
14   PHI VAY BUI,                                        RETROACTIVE DRUGS-MINUS-TWO
                                                         REDUCTION CASE
15                             Defendant.
                                                         Judge: Honorable WILLIAM B. SHUBB
16
17             Defendant, PHI VAY BUI by and through his attorney, Assistant Federal Defender David
18   M. Porter, and plaintiff, UNITED STATES OF AMERICA, by and through its counsel, Assistant
19   U.S. Attorney Jason Hitt, hereby stipulate as follows:

20             1.         Pursuant to 18 U.S.C. § 3582(c)(2), this Court may reduce the term of

21   imprisonment in the case of a defendant who has been sentenced to a term of imprisonment

22   based on a sentencing range that has subsequently been lowered by the Sentencing Commission

23   pursuant to 28 U.S.C. § 994(o);

24             2.         On July 31, 2009, this Court sentenced Mr. Bui to a term of 87 months

25   imprisonment on Counts One and Six, to be served concurrently with each other, for a total term

26   of 87 months imprisonment;

27             3.         His total offense level was 29, his criminal history category was I, and the

28   resulting guideline range was 87 to 108 months;

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1              4.         The sentencing range applicable to Mr. Bui was subsequently lowered by the
2    United States Sentencing Commission in Amendment 782, made retroactive on July 18, 2014,
3    see 79 Fed. Reg. 44,973;
4              5.         Mr. Bui’s total offense level has been reduced from 29 to 27, and his amended
5    guideline range is 70 to 87 months; and,
6              6.         Accordingly, the parties request the Court enter the order lodged herewith
7    reducing Mr. Bui’s term of imprisonment to a term of 70 months.
8    Respectfully submitted,
9    Dated: December 22, 2014                           Dated: December 22, 2014
10   BENJAMIN B. WAGNER                                 HEATHER E. WILLIAMS
     United States Attorney                             Federal Defender
11
12    /s/ Jason Hitt                                    /s/ David M. Porter
     JASON HITT                                         DAVID M. PORTER
13   Assistant U.S. Attorney                            Assistant Federal Defender
14   Attorney for Plaintiff                             Attorney for Defendant
     UNITED STATES OF AMERICA                           PHI VAY BUI
15
16                                                     ORDER
17             This matter came before the Court on the stipulated motion of the defendant for reduction
18   of sentence pursuant to 18 U.S.C. § 3582(c)(2).
19             The parties agree, and the Court finds, that Mr. Bui is entitled to the benefit Amendment
20   782, which reduces the total offense level from 29 to 27, resulting in an amended guideline range
21   of 70 to 87 months.
22             IT IS HEREBY ORDERED that the term of imprisonment imposed in July 2009 is
23   reduced to a term of 70 months on Counts One and Six, to be served concurrently with each
24   other, for a total term of 70 months.
25             IT IS FURTHER ORDERED that all other terms and provisions of the original judgment
26   remain in effect. The clerk shall forthwith prepare an amended judgment reflecting the above
27   reduction in sentence, and shall serve certified copies of the amended judgment on the United
28   States Bureau of Prisons and the United States Probation Office.

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1              Unless otherwise ordered, Mr. Bui shall report to the United States Probation Office
2    within seventy-two hours after his release.
3    Dated: January 7, 2015
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     Stipulation and Order Re: Sentence Reduction      3
